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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT
                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Anderson, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09-5252

****************************************************

            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                                    Respectfully submitted:

                                                    GAINSBURGH, BENJAMIN, DAVID,
                                                    MEUNIER & WARSHAUER, L.L.C.

                                                    BY:    _s/Justin Woods
                                                           GERALD E. MEUNIER, #9471
                                                           JUSTIN I. WOODS, #24713
                                                           2800 Energy Centre
                                                           1100 Poydras Street
                                                           New Orleans, Louisiana 70163
                                                           Telephone: 504/522-2304
                                                           Facsimile:    504/528-9973
                                                           gmeunier@gainsben.com
                                                           jwoods@gainsben.com
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                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                        MDL NO. 1873
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PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT
                                                           MAG. JUDGE CHASEZ

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Anderson, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09-5252

****************************************************

                                SUPPLEMENTAL EXHIBIT A



Wayne Anderson -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Monica Anderson-Clay -        Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Monica Anderson-Clay o/b/o Dorian Clay -            Gulf Stream Coach, Inc.;        After   due
                                                    diligence, contractor unknown

Monica Anderson-Clay o/b/o Dylan Howard -           Gulf Stream Coach, Inc.;        After   due
                                                    diligence, contractor unknown

Monica Anderson-Clay o/b/o Devin Howard -           Gulf Stream Coach, Inc.;        After   due
                                                    diligence, contractor unknown

Jonathon Barard -             After due diligence, manufacturer and contractor unknown

Veronica Barard -             After due diligence, manufacturer and contractor unknown

Herman Barard -               After due diligence, manufacturer and contractor unknown

Herman Barard o/b/o Esteline Barard, deceased -     After due diligence, manufacturer and
                                                    contractor unknown

Herman Barard o/b/o Tiffany Barard -                After due diligence, manufacturer and
                                                    contractor unknown
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Herman Barard o/b/o Herman Barard, III - After due diligence, manufacturer and contractor
                                         unknown

Damon Barden -              Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Patrick Beecher -           After due diligence, manufacturer and contractor unknown

Blake Rizzuto -             After due diligence, manufacturer and contractor unknown

Linda Blunt -               Jayco Enterprises, Inc.; After due diligence, contractor unknown

Chester Blunt, Sr. -        Jayco Enterprises, Inc.; After due diligence, contractor unknown

Dorian Boone -              Waverlee Homes, Inc.; Fluor Enterprises, Inc.

Nadedge Booth -             Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Robert Booth, Jr. -         Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Sandra Brooks -             After due diligence, manufacturer and contractor unknown

Sharett Brooks -            After due diligence, manufacturer and contractor unknown

Robert Brumfield -          Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Andra Brumfield -           Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Andra Brumfield o/b/o Aleia Duhe - Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                                   Enterprises, Inc.

Catherine Buggage -         After due diligence, manufacturer and contractor unknown

Vince Clark -               Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Lawrence Clark -            Monaco Coach, Inc.; Shaw Environmental, Inc.

Augusta Clark -             Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Melodie Coutune -           After due diligence, manufacturer and contractor unknown

Melodie Coutune on behalf of her minor child Bryan Coutune-West -       After due diligence,
                                                                        manufacturer     and
                                                                        contractor unknown
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Melodie Coutune on behalf of her minor child Louis Coutune-West -       After due diligence,
                                                                        manufacturer     and
                                                                        contractor unknown

Rodney Davis -              After due diligence, manufacturer and contractor unknown

Chris Davis -               Thor Industries, Inc.; CH2M Hill Constructors, Inc.

Earl Desmond, Jr. -         After due diligence, manufacturer and contractor unknown

Cayata Dixon -              After due diligence, manufacturer and contractor unknown

Judy Dominick -             Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Andrika Duhe -              Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Ariel Duhe -                Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Antoine Duhe -              Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Andrika Duhe o/b/o Asia’na Duhe - Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                                  Enterprises, Inc.

Andrika Duhe o/b/o Cordez Johnson -        Cavalier Home Builders, LLC, Cavalier Homes,
                                           Inc.; Fluor Enterprises, Inc.

Winter Flowers -            After due diligence, manufacturer and contractor unknown

Winter Flowers o/b/o Mary Jane Beecher - After due diligence, manufacturer and contractor
                                         unknown

Winter Flowers o/b/o Gage Hill -   After due diligence, manufacturer and contractor unknown

Winter Flowers o/b/o Gavin Beecher -       After due diligence, manufacturer and contractor
                                           unknown

Mary Frazier -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Dawn Gras -                 Coachmen Industries, Inc.; Coachmen Recreational Vehicle
                            Company, LLC, Coachmen Recreational Vehicle Company of
                            Georgia, LLC; CH2M Hill Constructors, Inc.

Johnny Gras, Sr. -          Coachmen Industries, Inc.; Coachmen Recreational Vehicle
                            Company, LLC, Coachmen Recreational Vehicle Company of
                            Georgia, LLC; CH2M Hill Constructors, Inc.
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Johnny Gras, Sr., o/b/o Corleen Gras -        Coachmen Industries, Inc.; Coachmen Recreational
                                              Vehicle Company, LLC, Coachmen Recreational
                                              Vehicle Company of Georgia, LLC; CH2M Hill
                                              Constructors, Inc.

Johnny Gras, Sr., o/b/o Jacob Gras -          Coachmen Industries, Inc.; Coachmen Recreational
                                              Vehicle Company, LLC, Coachmen Recreational
                                              Vehicle Company of Georgia, LLC; CH2M Hill
                                              Constructors, Inc.

Johnny Gras, Sr., o/b/o Johnny Gras, Jr, deceased - Coachmen Industries, Inc.; Coachmen
                                                    Recreational Vehicle Company, LLC,
                                                    Coachmen Recreational Vehicle Company
                                                    of Georgia, LLC; CH2M Hill Constructors,
                                                    Inc.

Nicholas Hamilton -          After due diligence, manufacturer and contractor unknown

Preston Hammler -            After due diligence, manufacturer and contractor unknown

Rashakka Hanson o/b/o Rashaad Hanson - After due diligence, manufacturer and contractor
                                       unknown

Rashakka Hanson o/b/o Xavier Lewis -          After due diligence, manufacturer and contractor
                                              unknown

Jack Hargis -                Thor Industries, Inc.; Shaw Environmental, Inc.

Jack Hargis o/b/o Keena Hargis - Thor Industries, Inc.; Shaw Environmental, Inc.

Nicholas Harper -            Cavalier Home Builders, LLC, Cavalier Homes, Inc.; After due
                             diligence, contractor unknown

Desmen Hayes -               After due diligence, manufacturer and contractor unknown

Norman Hernandez -           After due diligence, manufacturer and contractor unknown

Gary Hills -                 Stewart Park Homes, Inc.; After due diligence contractor unknown

Janet Hooker -               Monaco Coach, Inc.; Shaw Environmental, Inc.

Janet Hooker o/b/o Wilma Bell, deceased - Monaco Coach, Inc.; Shaw Environmental, Inc.

Quiana Horton -              After due diligence, manufacturer and contractor unknown

Quiana Horton o/b/o David Bell -       After due diligence, manufacturer and contractor unknown

Quiana Horton o/b/o Derrick Sims, Jr. -       After due diligence, manufacturer and contractor
                                              unknown
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Quiana Horton o/b/o Latasha Duplessis -      After due diligence, manufacturer and contractor
                                            unknown

Dorothy Johnson -            After due diligence, manufacturer and contractor unknown

Alfred Johnson -             After due diligence, manufacturer and contractor unknown

Brittany Jones -             Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Willie Jones -               Forest River, Inc.; Shaw Environmental, Inc.

Katie Jones -                Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Katie Jones on behalf of her minor child Courtney Jones - Gulf Stream Coach, Inc.; Fluor
                                                          Enterprises, Inc.

Katie Jones on behalf of her minor child Ashley Jones -    Gulf Stream Coach, Inc.; Fluor
                                                           Enterprises, Inc.

Katie Jones on behalf of her minor child Darrius Jones -   Gulf Stream Coach, Inc.; Fluor
                                                           Enterprises, Inc.

Katie Jones on behalf of her minor child Keitha Jones -    Gulf Stream Coach, Inc.; Fluor
                                                           Enterprises, Inc.

Katie Jones on behalf of her minor child Lydia Jones -     Gulf Stream Coach, Inc.; Fluor
                                                           Enterprises, Inc.

Byron Keller -               Coachmen Industries, Inc.; Coachmen Recreational Vehicle
                             Company, LLC, Coachmen Recreational Vehicle Company of
                             Georgia, LLC; Shaw Environmental, Inc.

Denise Knight -              After due diligence, manufacturer and contractor unknown

Lisa Knight -                After due diligence, manufacturer and contractor unknown

Jeannie Lagarde -            Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Edward Lagarde -             Fleetwood Enterprises, Inc.; Shaw Environmental, Inc

Edward Lagarde on behalf of his minor child Cassidie Lagarde -      Fleetwood Enterprises, Inc.;
                                                                    Shaw Environmental, Inc

Edward Lagarde on behalf of his minor child Edward Lagarde, III -           Fleetwood
                                                                            Enterprises, Inc.;
                                                                            Shaw Environmental,
                                                                            Inc

Joseph LaRocca -             After due diligence, manufacturer and contractor unknown
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James Lee, Jr. -             After due diligence, manufacturer and contractor unknown

Elizabeth Lehman -           Layton Homes Corp.; Fluor Enterprises, Inc.

Natashya Lowe -              After due diligence, manufacturer unknown; Shaw Environmental,
                             Inc.

Elizabeth Lehman on behalf of her minor child Roy Lyons, Jr. -   Layton Homes Corp.; Fluor
                                                                 Enterprises, Inc.

Roy Lyons, Sr. -             Layton Homes Corp.; Fluor Enterprises, Inc.

Patrick Maire -              After due diligence, manufacturer and contractor unknown

Richard Maturana -           After due diligence, manufacturer and contractor unknown

Eloise McGee -               Forest River, Inc.; Shaw Environmental, Inc.

Wendell McGee -              Forest River, Inc.; Shaw Environmental, Inc.

Delriette McGee -            Forest River, Inc.; Shaw Environmental, Inc.

Antonio McGee -              Forest River, Inc.; Shaw Environmental, Inc.

Robert McGee -               Forest River, Inc.; Shaw Environmental, Inc.

Brittney McGee -             Forest River, Inc.; Shaw Environmental, Inc.

Charlette McGee on behalf of her minor child Tiphanie Jordon -   Forest River, Inc.; Shaw
                                                                 Environmental, Inc.

Tashika Morris -             After due diligence, manufacturer and contractor unknown

Danielle Murchison -         After due diligence, manufacturer and contractor unknown

Mary Murchison -             After due diligence, manufacturer and contractor unknown

Daniel Murchison -           After due diligence, manufacturer and contractor unknown

Theresa Nguyen -             After due diligence, manufacturer and contractor unknown

Casey Nunez -                After due diligence, manufacturer and contractor unknown

Colene Olsen -               After due diligence, manufacturer and contractor unknown

Logan O’Neal -               Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Claudette Paul -             After due diligence, manufacturer and contractor unknown
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Lawrence Paul -              After due diligence, manufacturer and contractor unknown

Jovan Perique -              After due diligence, manufacturer and contractor unknown

Alice Pierre -               Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Mary Rinkus -                After due diligence, manufacturer and contractor unknown

Charles Rinkus -             After due diligence, manufacturer and contractor unknown

Henry Gurley -               Lakeside Park Homes, Inc.; CH2M Hill Constructors, Inc.

Gabriela Schaeffer -         Coachmen Industries, Inc.; Coachmen Recreational Vehicle
                             Company, LLC, Coachmen Recreational Vehicle Company of
                             Georgia, LLC; Fluor Enterprises, Inc.

Gabriela Schaeffer on behalf of her minor child Taylor Schaeffer - Coachmen Industries, Inc.;
                                                                   Coachmen          Recreational
                                                                   Vehicle Company, LLC,
                                                                   Coachmen          Recreational
                                                                   Vehicle       Company       of
                                                                   Georgia,       LLC;     Fluor
                                                                   Enterprises, Inc.

Bryan Schaeffer -            Coachmen Industries, Inc.; Coachmen Recreational Vehicle
                             Company, LLC, Coachmen Recreational Vehicle Company of
                             Georgia, LLC; Fluor Enterprises, Inc.

Calvin Smith -               Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                             Enterprises, Inc.

Christiana Smith -           Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Willie Smith -               After due diligence, manufacturer and contractor unknown

LaShonda Stack -             After due diligence, manufacturer and contractor unknown

LaShonda Stack on behalf of the minor child Donnell Griffith -     After     due    diligence,
                                                                   manufacturer and contractor
                                                                   unknown

LaShonda Stack on behalf of the minor child Ear Joseph Crump - After    due     diligence,
                                                               manufacturer and contractor
                                                               unknown

James Steward -              After due diligence, manufacturer and contractor unknown

Glenda Stone -               After due diligence, manufacturer and contractor unknown
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Charles Strohmeyer -         Forest River, Inc.; Fluor Enterprises, Inc.

Yvette Thermond -            After due diligence, manufacturer and contractor unknown

Brittney Tortorich -         After due diligence, manufacturer and contractor unknown

Tommy Tran -                 After due diligence, manufacturer and contractor unknown

Lonnie Vent -                After due diligence, manufacturer and contractor unknown

Renee Walls -                After due diligence, manufacturer and contractor unknown

Renee Walls on behalf of her minor child Deja Walls -       After due diligence, manufacturer
                                                            and contractor unknown

Renee Walls on behalf of her minor child Joenae Perique - After due diligence, manufacturer
                                                          and contractor unknown

Antoinette Washington -      After due diligence, manufacturer and contractor unknown

Mary Watts -                 Jayco Enterprises, Inc.; Shaw Environmental, Inc.

Robbie Wiggins -             After due diligence, manufacturer and contractor unknown

Tenecius Williams -          After due diligence, manufacturer and contractor unknown

John Williams -              After due diligence, manufacturer and contractor unknown

Vivian Wilson -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Kenneth Woods -              Palm Harbor Homes, Inc, Palm Harbor Albermarle, LLC, Palm
                             Harbor Manufacturing, Inc.; Fluor Enterprises, Inc.

Imogene Alkinson -           After due diligence, manufacturer and contractor unknown

Levon Atkinson -             After due diligence, manufacturer and contractor unknown

Damon Barden -               Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Calvin Bernard -             After due diligence, manufacturer and contractor unknown

Peter Bethley -              After due diligence, manufacturer and contractor unknown

Wesley Broaden -             After due diligence, manufacturer and contractor unknown

Reginald Brown -             After due diligence, manufacturer and contractor unknown

Glen Brown -                 After due diligence, manufacturer and contractor unknown
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Natasha Brown -              Vanguard Industries of Michigan, Inc.; After due diligence,
                             contractor unknown

Natasha Brown on behalf of Oliver Dison, IV -       Vanguard Industries of Michigan, Inc.; After
                                                    due diligence, contractor unknown

Natasha Brown on behalf of Rodney Santiago, Jr. - Vanguard Industries of Michigan, Inc.; After
                                                  due diligence, contractor unknown

David Calahan -              After due diligence, manufacturer and contractor unknown

Deandra Carr -               After due diligence, manufacturer and contractor unknown

Maureen Carr -               After due diligence, manufacturer and contractor unknown

Michael Carr -               After due diligence, manufacturer and contractor unknown

Christian Carr on behalf of the minor child, Shawn Carr -    After due diligence, manufacturer
                                                            and contractor unknown

Milton Carr, Sr. -           After due diligence, manufacturer and contractor unknown

James Craft -                After due diligence, manufacturer and contractor unknown

Chris Davis -                Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Jeffrey Davis -              After due diligence, manufacturer and contractor unknown

Leshawn Davis -              After due diligence, manufacturer and contractor unknown

Floyd Davis -                After due diligence, manufacturer and contractor unknown

Elston Davis -               After due diligence, manufacturer and contractor unknown

Mamie Davis -                After due diligence, manufacturer and contractor unknown

Herbert Davis, Sr. -         KZRV, LP.; After due diligence, contractor unknown

Trenelle Dennis -            After due diligence, manufacturer and contractor unknown

Nykeshia Dennis -            After due diligence, manufacturer and contractor unknown

Nykeshia Dennis on behalf of the minor child, Alisan Williams -   After due diligence,
                                                                  manufacturer and contractor
                                                                  unknown
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Nykeshia Dennis on behalf of the minor child, Alvin Williams, III -      After due diligence,
                                                                         manufacturer and
                                                                         contractor unknown

Nykeshia Dennis on behalf of the minor child, De’John Dennis -    After due diligence,
                                                                  manufacturer and contractor
                                                                  unknown

Nykeshia Dennis on behalf of the minor child, D’Kenan Dennis - After due diligence,
                                                               manufacturer and contractor
                                                               unknown

Nykeshia Dennis on behalf of the minor child, Hilton Dennis, III - After due diligence,
                                                                   manufacturer and contractor
                                                                   unknown

Nykeshia Dennis on behalf of the minor child, Kamira Dennis -     After due diligence,
                                                                  manufacturer and contractor
                                                                  unknown

Nykeshia Dennis on behalf of the minor child, Rashad Dennis -     After due diligence,
                                                                  manufacturer and contractor
                                                                  unknown

Janelle Dennis -             After due diligence, manufacturer and contractor unknown

Simone Dennis -              After due diligence, manufacturer and contractor unknown

Gladys Desdunes -            After due diligence, manufacturer and contractor unknown

Donald Douglas -             After due diligence, manufacturer and contractor unknown

Charles Dowden, VI -         After due diligence, manufacturer and contractor unknown

Alvin Frank -                Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Mary Frazier -               Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Clarence Green -             After due diligence, manufacturer and contractor unknown

Dominic Green -              After due diligence, manufacturer and contractor unknown
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Dominic Green on behalf of the minor child Christine Green -         After due diligence,
                                                                     manufacturer and contractor
                                                                     unknown

Rickey Hawkins -              After due diligence, manufacturer and contractor unknown

Lamar Isidore -               After due diligence, manufacturer and contractor unknown

Gregory Johnson -             After due diligence, manufacturer and contractor unknown

Donald Johnson -              Patriot Homes, Inc.; Fluor Enterprises, Inc.

Curry Magee -                 After due diligence, manufacturer and contractor unknown

Melissa Miller -              Dutchmen Manufacturing, Inc.; CH2M Hill Constructors, Inc.

Melissa Miller on behalf of the minor child, Michael Miller, Jr. - Dutchmen Manufacturing,
                                                                   Inc.; CH2M Hill
                                                                   Constructors, Inc.

Melissa Miller on behalf of the minor child, Blake Miller -          Dutchmen Manufacturing,
                                                                     Inc.; CH2M Hill
                                                                     Constructors, Inc.

Melissa Miller on behalf of the minor child, Brittany Miller -       Dutchmen Manufacturing,
                                                                     Inc.; CH2M Hill
                                                                     Constructors, Inc.

Michael Miller, Sr. -         After due diligence, manufacturer and contractor unknown

Ta’Janae Morris -             After due diligence, manufacturer and contractor unknown

Michael Morris -              TL Industries, Inc.; Fluor Enterprises, Inc.

Mary Murchison -              After due diligence, manufacturer and contractor unknown

Danielle Murchison -          After due diligence, manufacturer and contractor unknown

Daniel Murchison -            After due diligence, manufacturer and contractor unknown

David Perkins -               Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Tyrone Stcyr -                After due diligence, manufacturer and contractor unknown

Amanda Thoulion -             After due diligence, manufacturer and contractor unknown
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Rose Wale -                 Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Rose Wale on behalf of George Wale, deceased -    Gulf Stream Coach, Inc.; Fluor
                                                  Enterprises, Inc.

Michael Watts -             After due diligence, manufacturer and contractor unknown

Alvin Williams -            After due diligence, manufacturer and contractor unknown

Oliver Harrison, Jr. -      Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Jimmie Walker -             Cavalier Home Builders, LLC, Cavalier Homes, Inc.; Fluor
                            Enterprises, Inc.

Louis Hogan, Jr. -          After due diligence, manufacturer and contractor unknown

Debbie Massaline -          Forest River, Inc.; After due diligence, contractor unknown

Charles Rouse -             Forest River, Inc.; After due diligence, contractor unknown
